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     IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA                )
                                        )      CRIMINAL ACTION NO.
        v.                              )         2:19cr118-MHT
                                        )              (WO)
CLARENCE WRIGHT LANE, JR.               )

                                    OPINION

       Defendant Clarence Wright Lane, Jr. pled guilty to

10    counts     of     a    14-count       indictment:    one    count     of

possessing a firearm known to be stolen in violation of

18 U.S.C. § 922(j), eight counts of selling a firearm to

a convicted felon in violation of 18 U.S.C. § 922(d)(1),

and one count of conspiring to distribute and possessing

with     intent       to     distribute       50   grams    or    more      of

methamphetamine              in     violation        of      21     U.S.C.

§§ 841(b)(1)(A)(viii) and 846.                 These counts arose from

a series of transactions in January and February 2019 in

which     Lane    and       his   co-defendant,     Khiry    Lacey,      sold

firearms and methamphetamine to a confidential informant

of     the   Bureau         of    Alcohol,     Tobacco,     Firearms       and

Explosives.       Lane sold the firearms, and Lacey sold the
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methamphetamine.       In January 2020, the court sentenced

Lacey to 70 months of imprisonment for his role in the

offense.

      The court ultimately sentenced Lane to 70 months of

imprisonment as well.            At sentencing, Lane avoided a

10-year        mandatory-minimum            sentence           on       the

methamphetamine conspiracy count because he qualified for

“safety valve” relief under 18 U.S.C. § 3553(f).                        The

court then granted a downward variance because it found

the   same    problems    with    applying    the    methamphetamine

guidelines of § 2D1.1 of the United States Sentencing

Guidelines to Lane’s case as it previously found in

United States v. Johnson, 379 F. Supp. 3d 1213 (M.D. Ala.

2019)   (Thompson,       J.).     Because    of     the   unusual       and

possibly unique circumstances of this case, the court

writes to explain further its findings and reasoning on

the application of the safety valve here.

      The    government   did    not   contest    two     of    the   five

findings necessary for the safety valve to apply: that

Lane did not have more than four criminal history points


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or prior offenses of certain values, and that his offense

did not result in death or serious bodily injury.                       See

18 U.S.C. § 3553(f)(1), (f)(3).               The court found at

sentencing that Lane had proved the other three factors

as well: that he did not possess a firearm in connection

with the offense, that he was not an organizer, leader,

manager, or supervisor of others in the offense, and that

he had truthfully provided to the government all the

information he knew about the offense.                   See 18 U.S.C.

§ 3553(f)(2), (f)(4), (f)(5).

       As the court stated during Lane’s sentencing, the

question of whether he possessed a firearm “in connection

with     the   offense,”      as       forbidden    by     18    U.S.C.

§ 3553(f)(2), was a close and difficult one.                 As orally

explained at sentencing and elaborated below, the court

found that Lane had not possessed a firearm in connection

with the drug offense because the firearm and drug sales

were essentially separate transactions.              In other words,

the firearms were simply a second illicit commodity sold




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by Lane to the confidential informant at the same time

as Lacey sold methamphetamine to the informant.

    Under precedent of the Eleventh Circuit Court of

Appeals,    there       is   a    difference         between    possessing      a

firearm     during      an       offense       and    possessing      one    “in

connection with” the offense.                        See United States v.

Carillo-Ayala,       713     F.3d       82,     89-90     (11th   Cir.      2013)

(drawing a distinction between the safety valve’s “in

connection with” requirement and the mere possession

requirement of U.S.S.G. § 2D1.1(b)(1)).                        Although Lane

received    an    offense         level       adjustment    under     U.S.S.G.

§ 2D1.1(b)(1)        for     possessing          a    firearm     during      the

offense, “not all defendants who receive the enhancement

under § 2D1.1(b)(1) are precluded from relief under ...

the safety valve.”           Id. at 91.

    In     United    States        v.   Carillo-Ayala,          the   Eleventh

Circuit held that firearms possessed “in connection with”

a drug offense so as to preclude safety valve relief are

those    that    have    the      “potential         of   facilitating”       the

offense.     See id. at 92 (quoting U.S.S.G. § 2K2.1 cmt.


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14).    When the defendant possesses the firearm in “close

proximity”       to   drugs,    the       weapon   generally   has      the

potential to facilitate the offense because “there is a

strong presumption that a defendant aware of the weapon’s

presence will think of using it if his illegal activities

are threatened.”       Id.     As such, the Eleventh Circuit held

that, “A defendant seeking relief under the safety valve,

despite his possession of a weapon found in proximity to

drug-related items, will have a difficult task in showing

that, even so, there is no connection with the drug

offense.”    Id.

       A difficult task is not an impossible one.                    There

are rare circumstances in which a defendant’s possession

of a firearm in proximity to drugs does not mean that the

firearm    was    possessed     “in       connection   with”   the    drug

offense because there is no possibility that the weapon

could have been used to facilitate the drug crime.                       As

the court found at Lane’s sentencing, the facts of this

case present these rare circumstances.




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    First, as noted above, Lane had no real involvement

in the drug sales other than telling Lacey where to meet

him and the confidential informant.              Lacey brought the

methamphetamine to the meetings and left with all the

money the informant paid for the methamphetamine.                  Lane

sold guns to the informant, and Lacey sold drugs.                 There

was no relationship between Lacey’s drug sales and Lane’s

gun sales other than that they occurred side by side.

    Second, the presence of the firearms did not increase

the likelihood that the confidential informant would

purchase the methamphetamine.          Lane had been selling guns

to the informant before Lacey and the informant ever came

into contact about selling methamphetamine.                 The drugs

were just an additional item for the informant to buy

from Lacey while he was already buying guns from Lane.

The possibility of buying the guns was not presented as

encouragement for the informant to buy the drugs, and the

guns were not used to urge or pressure the informant to

go through with the drug purchases.




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    Third, Lane received no money from Lacey’s drug

sales, and Lacey received no money from Lane’s gun sales.

This confirmed the separate nature of the transactions.

    Fourth, none of the guns that Lane sold to the

confidential informant were loaded.           Neither Lane nor the

informant possessed any ammunition during the sales that

would have allowed the guns to be loaded, and there was

no ammunition in the vicinity.           Lane also did not carry

a personal weapon separate from those he was offering for

sale to the confidential informant.

    Based on these facts, the court was convinced, and

so found factually, that what took place in this case

were essentially two separate commercial sales of guns

and drugs.     Lane’s firearms lacked the nexus with the

drugs necessary for him to have possessed the weapons “in

connection with” them.         Moreover, the Eleventh Circuit

has held that “close proximity” for the purposes of the

safety valve “encompasses both physical distance and

accessibility.”       United States v. Gordillo, 920 F.3d

1292, 1300 (11th Cir. 2019) (emphasis omitted).                Because


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the guns were not and could not have been loaded during

the drug sales, they were not “accessib[le]” to Lane to

use in facilitation of the drug offense.                    In light of

these findings, the court found that Lane had met his

burden of showing that the safety valve applied in his

case.

      The court then found that Lane’s base offense level

was 32 under Guideline 2D1.1(c)(4) of the United States

Sentencing       Guidelines    because      his      offense   involved

between    150    and   500   grams    of   “Ice,”     or   high-purity

methamphetamine.        His criminal history category was I,

yielding a guidelines range of 121-151 months.                 With the

two-level upward adjustment to Lane’s offense level for

possessing a firearm during the offense, the two-level

downward adjustment because the safety valve applied, and

the further three-level downward adjustment requested by

the     government      because       of    Lane’s     acceptance       of

responsibility, the court found that Lane’s total offense

level was 29, for a guidelines range of 87-108 months.




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    The court then found that a downward variance from

this range was appropriate.           As the court explained in

United States v. Johnson, the methamphetamine guidelines

of U.S.S.G. § 2D1.1(c) rest on the dual presumptions that

the purity and amount of the methamphetamine for which a

defendant is responsible indicate the significance of the

defendant’s role in methamphetamine distribution.                       See

Johnson, 379 F. Supp. 3d at 1215.            Here, as in Johnson,

those presumptions proved inaccurate: The quantity of

methamphetamine that Lane’s co-defendant Lacey sold to

the informant and the high purity of that methamphetamine

connoted nothing about Lane’s role in drug distribution.

Indeed, the court found that Lane was not an organizer

or leader even of the two-man conspiracy in which he was

involved.   His connection was yet more peripheral to any

broader   network    of   methamphetamine        distribution      from

which Lacey may have obtained the drugs sold in this

case.

    Because of the large number of guns Lane sold to the

confidential informant, however, the court did not grant


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the   full    six-level        variance     that     Lane      requested.

Instead, the court offset the six-level variance applied

in Johnson against the four-level increase that Lane

would have faced under Guideline 2K2.1(b)(1) for selling

multiple firearms if his sentence were based on the

firearm counts rather than the drug conspiracy count.

Therefore,     the     court      granted    a   two-level       downward

variance,    resulting       in    a    guidelines    range     of   70-87

months.      The     court   sentenced      Lane     to   70   months    of

imprisonment, which fell within this guidelines range.

      DONE, this the 9th day of November, 2020.

                                      /s/ Myron H. Thompson
                                   UNITED STATES DISTRICT JUDGE




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